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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

In re: NEXIUM (ESOMEPRAZOLE)                                 MDL No. 2409
ANTITRUST LITIGATION
                                                             Civil Action No. 1:12-md-02409-WGY

This Document Relates To:

All Actions

                           PLANITIFFS’ OMNIBUS MOTION IN LIMINE

         In light of opening statements next week, Plaintiffs1 respectfully request that the Court

grant the following relief to shape the proper scope of opening statements and the evidence.

Motion in Limine A: Motion to Bar Any Reference to the Adverse Impact That a Damages
Award Will Have on Defendants or the Drug Industry

         For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court preclude Defendants2 from presenting any

evidence or argument at trial that a large judgment against them will negatively impact their

current businesses and/or other drug manufacturers in the future. Plaintiffs also request that the

Court preclude Defendants from arguing or suggesting that they will need to adjust the prices

they charge for Nexium and/or other products in the event of an adverse verdict.

Motion in Limine B: Motion to Exclude Any Evidence Regarding Past or Present Litigation
Involving Plaintiffs or Their Counsel

         For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court preclude Defendants from referring to or



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         Plaintiffs include the Direct Purchaser Class Plaintiffs, the End Payor Class Plaintiffs, and Plaintiffs in the
Walgreen (No. 13-cv-10337-WGY), Giant Eagle (No. 13-cv-11305-WGY), Rite Aid (No. 13-cv-12074-WGY), and
CVS (14-cv-11788) actions.
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          “Defendants” are AstraZeneca LP, AstraZeneca AB and Aktiebolaget Hassle, Ranbaxy Pharmaceuticals,
Inc., Ranbaxy Inc. and Ranbaxy Laboratories Ltd., Teva Pharmaceutical Industries, Ltd. and Teva USA, Inc., and
Dr. Reddy’s Laboratories Ltd. and Dr. Reddy’s Laboratories, Inc.
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presenting evidence regarding any current or past litigation involving Plaintiffs or their counsel,

or suggesting any inappropriate role by Plaintiffs’ counsel in the instant case.

Motion in Limine C: Motion to Preclude Defendant AstraZeneca from Disparaging
Generic Drugs or Touting Brand Drugs

       For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that Defendants AstraZeneca LP, AstraZeneca AB and

Aktiebolaget Hassle (“AstraZeneca”) be precluded from introducing evidence or argument,

through attorneys or witnesses, denigrating generic drugs with pejoratives such as “copycat” or

“me too” drugs. Plaintiffs also request that AstraZeneca be precluded from referring to itself

with self-serving descriptors such as “innovator.”

Motion in Limine D: Motion to Exclude Evidence or Opinions That a Payment Must Be in
Cash

       For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court preclude Defendants from presenting any

evidence and/or opinion that a reverse payment under Actavis must be in cash.

Motion in Limine E: Motion to Exclude Evidence or Opinions That Authorized Generics
Are Anticompetitive

       For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court preclude Defendants from presenting any

evidence that authorized generics themselves harm competition or are anticompetitive. Plaintiffs

also request that the Court preclude Defendants from introducing any evidence that

AstraZeneca’s agreement not to launch an authorized generic was in any way procompetitive.

Motion in Limine F: Motion to Exclude Live Testimony of Defendants’ Witnesses Who Are
Unavailable to Testify in Plaintiffs’ Case in Chief

       For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court exclude the live testimony of witnesses set

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forth on Defendants’ witness list who are not made available to testify live in Plaintiffs’ case in

chief.

Motion in Limine G: Motion to Exclude Any Reference That the New Jersey District Court
in Any Way “Approved” the Patent Litigation Settlements

         For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court preclude Defendants from offering evidence or

argument that the New Jersey District Court’s entry of the consent judgments (“Consents”)

manifests actual court-approval of the patent litigation settlement agreements.

Motion in Limine H: Motion Requesting That the Court Preclude Assertion of Any “Risk
Aversion” Defense

         For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court preclude Defendants from arguing, suggesting,

mentioning, or presenting any evidence regarding any “risk aversion” defense, i.e., evidence,

argument, or suggestion that AstraZeneca’s aversion to litigation risk, the risk from competition,

and/or business uncertainty justified the payment to delay generic entry.

Motion in Limine I: Motion Requesting that the Court Preclude Evidence Related to the
FTC Investigation, and Requesting a Limiting Instruction to the Jury to Prevent
Conclusions and/or Inferences to be Drawn from the FTC Investigation

         For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs request that the Court preclude Defendants from introducing evidence

related to the legally irrelevant fact of the FTC investigation of the Defendants’ settlements and

the outcome of this investigation, and request a limiting instruction to prevent the jury from

drawing any conclusions and/or inferences from this same evidence.




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Motion in Limine J: Motion Requesting that the Court Preclude Evidence Related to
Defendants’ Supposed Good Character or Reputation

          For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs respectfully request that this Court prohibit Defendants from

mentioning or introducing evidence at trial related to Defendants’ supposed good character or

reputation.

Motion in Limine K: Motion Requesting that the Court Preclude Evidence that the Sales of
Nexium (a) Allowed AstraZeneca to Recoup Research and Development Costs Incurred in
the Development of Nexium, and (b) Generated Profits That Were Used to Develop or
Discover New Pharmaceutical Products, or That Were Used to Benefit the Public or
Company

          For the reasons set forth in the accompanying memorandum of law in support of this

omnibus motion, Plaintiffs respectfully request that this Court prohibit AstraZeneca from

offering evidence or argument that suppression of generic competition to Nexium was in any

way beneficial or procompetitive because it, inter alia, (a) permitted AstraZeneca to recoup

research and development expenses, or (b) generated profits which were used to develop or

discover new drugs, or which otherwise benefitted AstraZeneca or the public.

                            LOCAL RULE 7.1(a)(2) CERTIFICATION

          Plaintiffs made a good faith attempt to resolve the issues in this motion by asking

Defendants whether they consented to this motion, and Defendants did not respond as of this

filing.


Dated: October 14, 2014

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                                  CERTIFICATE OF SERVICE

       I, Thomas M. Sobol, hereby certify that I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access these filings through the Court’s system, and

notice of these filings will be sent to these parties by operation of the Court’s electronic filing

system.

Dated: October 14 , 2014
                                                               /s/ Thomas M. Sobol
                                                               Thomas M. Sobol




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